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In the United States District Court
For the Southern District of Georgia
Brunswick Dibision

MARY ELIZABETH NOLAND *
k
Plaintiff, * CIVIL ACTION NO.:: 2:19-cv-114
2k
Vv. *
2k
MARK BUTLER, et al., *
*
Defendants. 7
ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 8. Plaintiff did not file Objections
to this Report and Recommendation.

Accordingly, the Court ADOPTS the Magistrate Judge’s Report
and Recommendation as the opinion of the Court. The Court
DISMISSES Plaintiff’s Complaint, DIRECTS the Clerk of Court to
CLOSE this case and enter the appropriate judgment of dismissal,

and DENIES Plaintiff leave to appeal in forma pauperis.

SO ORDERED, this Y day| of JL May , 2020.

HON. LISA GODBEY WOOD, JUDGE

UNLT STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

AO 72A
(Rev. 8/82)

 

 
